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 5
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 6 United States of America

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 8
                                  IN THE UNITED STATES DISTRICT COURT
 9
                                     EASTERN DISTRICT OF CALIFORNIA
10

11   UNITED STATES OF AMERICA,                           CASE NO. 1:16-CR-00094 LJO-SKO
12                                 Plaintiff,            STIPULATION AND ORDER FOR EXTENSION
                                                         OF TIME TO FILE RESPONSIVE PLEADINGS
13                           v.                          REGARDING DEFENDANT TORRES’
                                                         MOTION TO DISMISS
14   OTONIEL TORRES-CARDENAS.
15                                 Defendant.            Date: May 20, 2019
                                                         Time: 10:30 a.m.
16                                                       Honorable Lawrence J. O’Neill
17
             The United States of America, by and through McGREGOR W. SCOTT, United States Attorney,
18
     and KATHLEEN A. SERVATIUS, Assistant United States Attorneys, and the defendant Otoniel
19
     Torres-Cardenas, by and through his attorney of record, Erin M. Snider, Assistant Federal Defender,
20
     hereby stipulate to extend the time for additional filings relating to Defendant’s Motion to Dismiss as
21
     follows:
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       STIPULATION TO CONTINUE TRIAL DATE
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            Case 1:16-cr-00094-JLT-SKO Document 49 Filed 04/30/19 Page 2 of 2


 1 ///

 2 the Government Opposition shall be filed on or before May 6, 2019 and the Defendant’s Reply shall be

 3 filed on or before May 13, 2019.

 4   Dated: April 29, 2019                               McGREGOR W. SCOTT
                                                         United States Attorney
 5

 6                                                       /s/ Kathleen A. Servatius
                                                         KATHLEEN A. SERVATIUS
 7                                                       Assistant United States Attorney

 8
     Dated: April 29, 2019                               HEATHER E. WILLIAMS
 9                                                       Federal Defender
10                                                       /s/ Erin M. Snider
                                                         ERIN M. SNIDER
11                                                       ASSISTANT FEDERAL DEFENDER
12

13                                                ORDER
14
     IT IS SO ORDERED.
15
         Dated:   April 30, 2019                         /s/ Lawrence J. O’Neill _____
16                                             UNITED STATES CHIEF DISTRICT JUDGE
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      STIPULATION TO CONTINUE TRIAL DATE
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